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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION


UNITED STATES OF AMERICA,                      CR 23-07-BLG-SPW-TJC

                   Plaintiff,
                                               ORDER CONTINUING
vs.                                            CHANGE OF PLEA
                                               HEARING
KYLE RICHARD LEWELLEN,

                   Defendant.




      Defendant has filed an unopposed motion requesting the change of plea

hearing be continued. (Doc. 37.) Good cause appearing, IT IS HEREBY

ORDERED that the change of plea hearing currently set for November 14, 2023, at

2:00 p.m. shall be vacated and rescheduled for November 16, 2023, at 2:00 p.m.,

in the Bighorn Courtroom, James F. Battin Federal Courthouse, Billings, Montana.

      DATED this 13th day of November, 2023.

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                                     TIMOTHY J. CAVAN
                                     United States Magistrate Judge
